










Opinion issued September 23, 2004











In The
Court of Appeals
For The
First District of Texas




NO. 01–04–00585–CV




DAMON C. RANDALL, Appellant

V.

FIDELITY NATIONAL ASSET MANAGEMENT F/K/A CASTLE
ADVISORS MOUNTAIN STATES, INC., Appellee




On Appeal from the County Civil Court at Law No. 2
Harris County, Texas
Trial Court Cause No. 812518




MEMORANDUM OPINIONAppellant Damon C. Randall has failed to timely file a brief.  See Tex. R. App.
P. 38.8(a) (failure of appellant to file brief).  After being notified that this appeal was
subject to dismissal, appellant Damon C. Randall did not adequately respond.  See
Tex. R. App. P. 42.3(b) (allowing involuntary dismissal of case).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The appeal is dismissed for want of prosecution for failure to timely file a brief. 
All pending motions are denied.
PER CURIAM
Panel consists of Justices Nuchia, Jennings, and Hanks.


